Case 2:04-cv-02758-BBD-dkv Document 22 Filed 07/05/05 Page 1 01°3 Page|D 14

IN THE UNITED STATES DISTRICT COURT mm BY g£o
FOR THE WESTERN DISTRICT OF TENNESSEE ""'"' b'°'
WESTERN DIVISION 05 JUL -5 PH l»= lot
JAMES HAMBY, )
) system
) W OF itt MMI~B
v. ) Civil Action No. 04-2758
)
JO ANNE B. BARNHART, )
Acting Commissioner of Social Security )
)
Defendant )

CONSENT ORDER GRANTING ATTORNEY’S FEES
Upon motion of plaintiff for attorney’s fees, by agreement of the parties, and for good
cause shoWn, it is hereby
OR_DERED That plaintiff is awarded: an attomey’s fee of $3,712.87 from The Equal
Access to Justice Act, pursuant to 28 U.S.C. §§ 1920 and 2412; and $150.00 to be paid from The
Judgment Fund, as reimbursement for the filing fee in this case.

SO ORDERED.

 

Thr's document entered on the docket sheet in comp!iance
with sues 58 andror rem FHCF on " / 175

Case 2:O4-cv-O2758-BBD-dkv Document 22 Filed 07/05/05 Page 2 of 3 Page|D 15

Consented to and Approved :

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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:04-CV-02758 Was distributed by faX, mail, or direct printing on
July l 1, 2005 to the parties listedl

 

 

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Honorable Bernice Donald
US DISTRICT COURT

